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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   4:08CR3001
                                           )
              v.                           )
                                           )
RENE MANUEL VARGAS-                        )       MEMORANDUM AND ORDER
MIRANDA, SANTIAGO LOPEZ-                   )
MENDOZA,                                   )
                                           )
                     Defendants.           )
                                           )


       The defendants object to Judge Piester’s report and recommendation that I deny
their motions to suppress. After de novo review, I find that Judge Piester has fairly and
accurately stated the facts and fairly and accurately applied the law. I will therefore deny
the objections, adopt the report and recommendation, and deny the motions to suppress.
Although I need not and will not address all the arguments raised by defense counsel
because Judge Piester’s report and recommendation fully addresses each of them, three
additional comments are in order.


       First, after carefully reviewing the transcript (Filing 40) and viewing and listening
to the significant parts of the deputy sheriff’s recording of the consent to search and the
ensuing search (Filing 37, Ex. 1), I am persuaded that Magistrate Judge Piester’s
recitation of the facts is, with immaterial exceptions, correct.


       Second, the driver of the car, and the person who produced the insurance card as
proof of lawful possession, Vargas-Miranda, clearly gave voluntary consent to look for
the drugs. To begin with, Vargas-Miranda explicitly confirmed that his exchange with
the deputy sheriff was consensual. Then, when asked if the deputy sheriff could look for
drugs, Vargas-Miranda responded by saying “Go ahead,” followed by an affirmative nod
of his head when the deputy sought to confirm the consent. In particular, I find the
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following recitation by Judge Piester to be a fair statement of the facts relevant to
consent:


             Deputy Sheriff Brown walked toward the back of the Dodge
      Magnum, met with Vargas-Miranda, and returned all the documents that
      had been produced. Deputy Sheriff Brown stated, “I appreciate you talking
      to me. I appreciate it. You understand it’s consensual right? You talking to
      me?” Ex. 1, 1:49-2:01.Vargas-Miranda affirmed that he understood it was
      consensual. Approximately ten minutes had elapsed since the defendants
      entered the Speedee Mart parking lot.

              Deputy Sheriff Brown then asked if Vargas-Miranda had any drugs,
      or any marijuana in the vehicle. Vargas-Miranda responded, “No” to both
      questions. When asked if he had any heroin, Vargas-Miranda laughed and
      stated he left it at home. He also denied possessing any cocaine. Deputy
      Sheriff Brown asked, “You care if I look and see?,” simultaneously
      gesturing this request by pointing two fingers first toward his eyes and then
      at the Dodge Magnum. Vargas-Miranda responded, “Go ahead,” but added
      “you don’t got no right” because “I wasn’t even driving.” Deputy Sheriff
      Brown responded, “Well I’m asking you. I’m just asking you. I’m asking
      you. But like you said, it’s all consensual. I’m just asking you.” Ex. 1,
      2:30-2:48. Vargas-Miranda, standing with his arms folded, nodded his
      head.

(Filing 41 at CM/ECF pp. 5-6.)

      In my view, the statement “you don’t got no right” because “I wasn’t even
driving” was not, in context, a withdrawal of the consent. Rather, as the deputy sheriff
testified, a reasonable person would have concluded that Vargas-Miranda was simply
asserting the he had not committed a traffic violation inasmuch as the car was parked.
In contrast, the statement, fairly understood by a reasonable officer, meant: “Go ahead
and look for drugs, even though you have no right to do so absent my consent because
I have not committed a traffic violation.” If there was any doubt about whether Vargas-
Miranda intended to withdraw his consent, it evaporated when the deputy sheriff
responded by saying, “Well I’m asking you. I’m just asking you[,]” and Vargas-Miranda
nodded his head and asserted no objection to the search.

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       Finally, applying Eighth Circuit precedent and realizing that no damage was done
to the car and none of the defendants made a contemporaneous objection to the manner
of the officer’s examination, a search of a vehicle that took about 34 minutes from the
time of the consent to the finding of the package of heroin (Ex. 1 at approximately 2:40
to approximately 36:38) did not exceed the consent to “look” for drugs even though the
deputy sheriff used a dog to sniff for contraband, removed (and replaced) a few screws
that appeared to be out of the ordinary, and removed a plastic piece over the center radio
console after observing that the glove compartment was missing a rivet. See, e.g., United
States v. Ferrer-Montoya, 483 F.3d 565, 568-569 (8th Cir. 2007) (state trooper, with the
assistance of a drug dog, did not exceed the defendant’s consent to a search of his vehicle
for drugs during a traffic stop when trooper removed screws from console panel and
lifted panel to reveal hidden compartment; defendant placed no qualifications or
limitations on his consent to search of his vehicle for drugs, officer noticed scarred
screws on console panel during search, officer opened compartment in minimally
intrusive manner by removing the screws, and did no damage to the vehicle, and at no
time did defendant object or suggest that he wished to withdraw his consent to search).


       IT IS ORDERED that:


       1.     Judge Piester’s report and recommendation (Filing 41) is adopted and the
objections (Filings 42 & 44) are denied.


       2.     The motions to suppress (Filings 28 & 30) are denied.


       DATED this 3 rd day of June, 2008.


                                          BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge




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